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                                      KLINE & SPECTER PC
                                          ATTORNEYS AT LAW
                                            1525 LOCUST STREET
                                     PHILADELPHIA, PENNSYLVANIA 19102
                                       WWW.KLINESPECTER.COM
                                                -------------
ALEX VAN DYKE, ESQ.                                                       ALEX.VANDYKE@KLINESPECTER.COM
                                               (215) 772-1000
                                        DIRECT DIAL: (215) 772-0534
                                            FAX: (215) 402-2362




                                              July 14, 2025


   The Honorable Wendy Beetlestone
   United States District Court for the Eastern District of Pennsylvania
   10614 U.S. Courthouse
   601 Market Street
   Philadelphia, PA 19106
   Chambers_of_Judge_Beetlestone@paed.uscourts.gov

          RE:     Salaam, et al. v. Trump, Case No. 2:24-cv-05560-WB

   Dear Judge Beetlestone:

          On July 3, 2025, Defendant filed a Motion for Stay Pending Appeal. Plaintiffs’ response is
   currently due this Thursday, July 17, 2025. Plaintiffs respectfully request a one-week extension to
   accommodate other filings and oral arguments this week. Plaintiffs’ counsel has conferred with
   defense counsel, and Defendant does not oppose the requested extension.

          We thank Your Honor for your attention and consideration of this request.

                                                                Respectfully,




                                                                ALEX VAN DYKE

   Cc:    All counsel of record via email and ECF
